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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


■INITED         STATES OF AMERICA,
           cx.″ θムLouis Scutellaro,

                    Plaintl氏


                    V.                            Civil Action No. l0-cv-1094 (BAH)

CAPITOL SUPPLY,INC.

                    Defendant.


          UNITED STATES AⅣIENDED COPIPLAINT IN PARTIAL INTERVENTION

           Comcs now thc Plaintiff United Statcs of Amcrica,by and through undcrsigncd counsel,

and pursuant to thc ヽ4inute Order of this Court dated April l, 2013, rcspectfully flles this

Amended Complaint and states as follows:

           1.      The Goverlmcnt brings this Complaint ln Pa■ ial lntervention sccking trcble

dmages and civil pcnaltics against Defendant undcr thc Falsc Claims Act,31U.S.C.§              3729θ ′

Sθ 7・   ,and seeking darnagcs under the corninon law claiins of payment under rnistakc of fact and

uttuSt erlriclmlcnt,in that Capitol Supply,Inc.(Capitol Supply),knOWingly ccrtifled,and the

goverlment paid a claiin for,payment or approval that was based on a falsc ccrtiflcation as to thc

country of origin.


           2.      Relator Louis Scutcnar。 。riginally flled this action on behalf of Plaintiff United

Statcs,pursuant to thc qui taln provisions ofthe False Claims Act,31U.S.C.§ 3730(b)(1).ThC

Unitcd States fllcs this Complaint in Partial lntervention pursuant to 3 1 U.S.C.§    3730(b)(4)(A).
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                                   JURISDICTION AND VENUE

        3.      This Court has subject matter jurisdiction over this action pursuant to 31 U.S.C.

$$ 3730 and3732, and 28 U.S.C. $$       l33l   and 1345.

        4.      This Court has personal jurisdiction over Defendant, pursuant to             3l U.S.C.
$ 3732(a) because Defendant transacts business in this     District.

        5.      Venue is proper in this District pursuant to   3l   U.S.C . $ 3732(a) and (b), under 28

U.S.C. S$ 1391(b) and (c), and 1395(a), and because acts proscribed by        3l   U.S.C. 5 3729, which

are complained of herein, occurred within this District.

                                               PARTIES
        6.      Plaintiff is the United States of America.

        7.      Relator Louis Scutellaro is a resident of Roanoke, Virginia. At all times relevant

herein, Mr. Scutellaro was the owner of Mario Industries, which manufactures lighting products

in   Roanoke, Virginia, since      1988. Mario Industries sells products to the United States
Government and its federal agencies.

        8.      Defendant Capitol Supply is a corporation with headquarters in Sunrise, Florida,

that sells products to govemment and non-government customers. At all times relevant herein,

Defendant sold products to the United States Government and its agencies under various General

Services Administration (GSA) Multiple Award Schedule contracts, including, but not limited to,

Multiple Award Schedule Contract No. GS-02F-0100N.

                                        FACTUAL ALLEGATIONS

        9.      The GSA was created pursuant to the Federal Property and Administrative

Services Act   of   1949 to consolidate agency service activities, including purchasing supplies and
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equipment for Federal agencies. As part         of its duties, the GSA enters into Multiple Award

Schedules (Federal supply contracts)       with various private contractors or vendors. In     these

Multiple Award Schedules, vendors' products are identified, priced and offered for sale through

GSA catalogues and websites. Federal agencies then purchase their supplies and equipment

from the GSA contractors using those catalogues and websites.

       10.      Pursuant to the GSA Multiple Award Schedules and the Federal Acquisition

Regulations (FAR), vendors, including Capitol Supply, agree to comply and certify compliance

with the Trade Agreements Act, the Buy American Act, and the American Recovery and

Reinvestment Act (prohibiting the sale to the United States or its agencies of goods that originate

in countries identified as "non-designated"), and further agree to specifically and correctly
identify the country of origin of all products offered for sale to the United States Government, to

ensure compliance with the statutes.

       I   l.   Capitol Supply falsely certified to the GSA and to Government customers that

products   it offered for   sale through the GSA originated in the United States or in designated

countries, when they did      not. From   January 2004 to the present, Capitol Supply, Inc., falsely

certified to the GSA that Fellowes Manufacturing Company's paper shredders sold through GSA

were made in the United States or other designated countries, whereas, in truth, they were

manufactured in China, a "non-designated" country.

       12.      As a result of its false certifications, Capitol Supply sold Fellowes document

shredders to the United States that violated the Trade Agreements      Act, the Buy American Act,

and./or the American Recovery and Reinvestment Act.




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        13.    Non-compliant sales by Capitol Supply of Chinese-made Fellowes Manufacturing

Company paper shredders        to the United States through the GSA (totaling              approximately

$408,930.04) are attached as Exhibit     A. Because      Capitol Supply failed to fully comply with    a


subpoena issued by the GSA Office of the Inspector General, the United States believes that

additional sales of non-compliant, Chinese-made Fellowes shredders to the United States will be

uncovered during discovery.

        14.     Although the United States' intervention in this matter is limited only to the

Fellowes document shredders, the United States did serve upon Capitol Supply a subpoena

issued by the GSA Offrce of the Inspector General seeking sales data and country of origin            of

other office products sold by Capitol Supply through the GSA. Capitol Supply failed to comply

with the subpoena, and accordingly, the United States has taken no position whether Capitol

Supply made other false certifications with respect to compliance of other office products sold.

The United States reserves the right to amend the Complaint in Intervention once full compliance

with the subpoena is obtained.

                                           FIRST COUNT
                                        (False Certification)
                            (False Claims Act 3l U.S.C. 5 3729 et. seq.)

        15.     Plaintiff alleges and incorporates by reference the allegations made in the

preceding paragraphs of this Complaint.

        16.     By virtue of the acts set forth above, Defendant knowingly, or with reckless

disregard or deliberate indifference of the truth caused to be presented, false or fraudulent

certifications to the United States, in violation of   3l U.S.C. $ 3729(a)(l);   that the false




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 certifications caused the false or fraudulent claims to be approved and paid by the United States;

 and that the United States incurred damages in an amount to be determined at trial.

                                                    SECOND COUNT
                                                   (False Claims)
                                     (False Claims Act 3l U.S.C. 5 3729 et. seq.)

          17.    Plaintiff alleges and incorporates by reference the allegations made in           the

preceding paragraphs as         if   set forth   fully herein.

         18.     By virtue of the acts described above, Defendant Capitol Supply knowingly, or

with reckless disregard or deliberative indifference of the truth presented, or caused to           be

presented, false or fraudulent claims to the United States for payment, in violation of    3l   U.S.C.

$   3729(a)(l); that Defendant caused the false or fraudulent claims to be approved and paid by the

United States, in violation of 31 U.S.C. $ 3729(a)(l); and that the United States incurred

damages in an amount to be determined at trial.

                                                    THIRD COUNT
                                                   (Unjust Enrichment)

         19.     Plaintiff incorporates by reference the allegations set forth in the preceding
paragraphs as   if   set   forth fully herein.

         20.    The United States paid to the Defendant costs which were not recoverable under

the terms of the contract and the FAR, by which the Defendant was unjustly enriched.

         21.    The United States is entitled to the retum of all overpayments paid to Defendant.

         22. By reason of the above-described payments, the Defendant               received money,
directly or indirectly, to which it was not entitled. It therefore has been unjustly enriched
                                                                                              in an
amount to be established at trial.




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                                                 FOURTH COUNT
                                      (Poyments Made in Mistake of Fact)

        23.      Plaintiff incorporates by reference the allegations set forth in the preceding
paragraphs as   if   set forth   fully herein.

        24.     The United States paid to the Defendant funds under the mistake of fact caused by

Defendant's false certifications and claims that the Fellowes Manufacturing Company's paper

shredders were made in the United States or in a compliant country of origin, and the funds paid

were not recoverable under the terms of the contract and the FAR.

        25.     The United States is entitled to the retum of all funds paid to Defendant.

        26. By reason of the above-described payments, the Defendant               received money,

directly or indirectly, that was paid pursuant to a mistake of fact and to which Defendant was not

entitled, and the United States was therefore damaged in an amount to be established at trial.

                                                   PRAYER

        WHEREFORE, Plaintiff prays for judgment against Defendant Capitol Supply, Inc.,              as

follows:

        27.     That this Court enter judgment against the Defendant in an amount equal to three

times the amount of damages the United States Government has sustained because        of
Defendant's actions, plus a civil penalty of not less than $5,000 and not more than $10,000 for

eachviolationof 3l U.S.C. 53729 et. seq.;

        28.     That Plaintiff/Relator be awarded the maximum amount allowed pursuant to

$ 3729(d) of the False Claims Act;

        29.     That Plaintiff/Relator be awarded all costs and expenses of this action, including

attorney's fees; and;
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30.   That Plaintiff/Relator recover such other relief as the Court deems just and proper.


                                    Respectillly submitted,



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